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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

CALDWELL GROUP, LLC,                             §
                                                 §
       Plaintiff,                                §
                                                 §
V.                                               §      CIVIL ACTION NO. 5:19-CV-932
                                                 §
FEDERAL INSURANCE COMPANY,                       §
                                                 §
       Defendant.                                §

                JOINT ALTERNATIVE DISPUTE RESOLUTION REPORT

       Plaintiff Caldwell Group, LLC (“Caldwell”) and defendant Federal Insurance Company

(“Federal”) file this Joint Alternative Dispute Resolution Report in accordance with Local Rule

CV-88(b), and state as follows:

       1.       Caldwell, by and through its counsel, Douglas P. Skelley and Rebecca DiMasi,

will be responsible for Caldwell’s settlement negotiations.

       2.       Federal, by and through its counsel, Joseph Ziemianski and Bryan P. Vezey, will

be responsible for Federal’s settlement negotiations.

       3.       Caldwell is contemporaneously submitting a written offer of settlement to

Federal, and Federal will respond in writing to Caldwell’s offer on or before January 24, 2020.

       4.       The parties agree that alternative dispute resolution is appropriate in this case.

Specifically, the parties have agreed to mediate with Donald R. Philbin, Jr., on January 29, 2020.

The mediator will be compensated through his customary per-party fee to be paid by each

participating party.
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         5.       The undersigned counsel certify that their clients have been or will be informed of

the ADR procedures available in the United States District Court for the Western District of

Texas.

                                                       Respectfully submitted,

                                                       s/ Douglas P. Skelley
                                                       Douglas P. Skelley
                                                       State Bar No. 24056335
                                                       doug@shidlofskylaw.com
                                                       Rebecca DiMasi
                                                       State Bar No. 24007115
                                                       rebecca@shidlofskylaw.com
                                                       SHIDLOFSKY LAW FIRM PLLC
                                                       7200 N. Mopac Expressway, Suite 430
                                                       Austin, Texas 78731
                                                       512-685-1400
                                                       866-232-8710 (Fax)
                                                       ATTORNEYS FOR PLAINTIFF


                                                       s/ Joseph A. Ziemianski
                                                       Joseph A. Ziemianski
                                                       State Bar No. 00797732
                                                       jziemianski@cozen.com
                                                       Bryan Vezey
                                                       State Bar No. 00788583
                                                       bvezey@cozen.com
                                                       COZEN O’CONNOR
                                                       1221 McKinney Ave., Suite 2900
                                                       Houston, Texas 77010
                                                       832-214-3900
                                                       832-214-3905 (Fax)
                                                       ATTORNEYS FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

       I certify that on January 11, 2020, a copy of the foregoing was filed electronically with
the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all known
counsel of record by operation of the Court’s electronic filing system.


                                            s/ Joseph A. Ziemianski
                                            Joseph A. Ziemianski




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